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16-cv-5658 (LAK)
-against- (93-cr-18() (LAK))
UNITED STATES OF AMERICA,
Respondent.
_______________________________________ X
ORDER

LEWIS A. KAPLAN, District Judge.

This case is stayed pending final resolution of United States v. Hill, 14-3872 (2d
Cir.). The government is instructed to update the Court of developments in Hill promptly, including
the filing and outcome of any motion for rehearing or petition for certiorari Upon final resolution
of Hz`ll, the government shall propose a briefing schedule for Ismoil’s habeas petition

The clerk is instructed to mail a copy of this order to Eyad Ismoil.

SO ORDERED.

Dated: August 30, 2016

/s/ Lewis A. Kaplan

 

Lewis A. Kaplan
United States District Judge

